US DISTRICT COURT

WESTERN DIST ARKANSAS
FILED
IN THE UNITED STATES DISTRICT COURT AUG 16 2019
FOR THE WESTERN DISTRICT OF ARKANSAS
FAYETTEVILLE DIVISION By OLAS F. YOUNG, Clerk
Deputy Clerk
UNITED STATES OF AMERICA )
) No. SIFLRSOO79 C0
v. ) 8 U.S.C. § 1324(a)(1)(A)Gii)
) 8 U.S.C. § 1324(a)(I(A(v)(D
PAUL PETERSEN ) 8 U.S.C. § 1324(a)(1)(B)(i)
) 8 U.S.C. § 1324(a)(1)(A)(iv)
) 8 U.S.C. § 1324(a)(1)(A)(v)(ID)
INDICTMENT
The Grand Jury charges:
COUNT ONE

Beginning on an unknown date, but at least as early as April 21, 2014, and continuing to
on or about March 2, 2015, in the Western District of Arkansas, PAUL PETERSEN, did
knowingly conspire and agree with other persons known and unknown to the grand jury, to
transport and move and attempt to transport and move within the United States, R.M.J., A.T., R.J.,
and D.J., aliens who had come to, entered, and remained in the United States in violation of law,
within the United States by means of transportation or otherwise, in furtherance of such violation
of law, for the purpose of commercial advantage and private financial gain, all in violation of Title
8, United States Code, Sections 1324(a)(1)(A)(ii), 1324(a)(1 (A)(v)(D and 1324(a)(1)(B)Q).
COUNT TWO
On or about April 21, 2014, in the Western District of Arkansas, PAUL PETERSEN, a
resident of Mesa, Arizona, aiding and abetting others known and unknown to the grand jury, did
encourage and induce an alien, namely, R.M.J., to come to, enter and reside in the United States,

knowing and in reckless disregard of the fact that such coming to, entry, and residence in the

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United States was in violation of law, for the purpose of commercial advantage and private
financial gain, all in violation of Title 8, United States Code, Sections 1324(a)(1)(A)(iv),
1324(a)(1)(A)(v)CID), and 1324(a)(1)(B)(i).
COUNT THREE
On or about October 1, 2014, in the Western District of Arkansas, PAUL PETERSEN,
a resident of Mesa, Arizona, aiding and abetting others known and unknown to the grand jury,
did encourage and induce an alien, namely, A.T., to come to, enter and reside in the United States,
knowing and in reckless disregard of the fact that such coming to, entry, and residence in the
United States was in violation of law, for the purpose of commercial advantage and private
financial gain, all in violation of Title 8, United States Code, Sections 1324(a)(1)(A)(iv),
1324(a)(1)(A)(v)CID, and 1324(a)(1)(B)(i).
COUNT FOUR
On or about February 20, 2015, in the Western District of Arkansas, PAUL PETERSEN,
a resident of Mesa, Arizona, aiding and abetting others known and unknown to the grand jury,
did encourage and induce an alien, namely, R.J., to come to, enter and reside in the United States,
knowing and in reckless disregard of the fact that such coming to, entry, and residence in the
United States was in violation of law, for the purpose of commercial advantage and private
financial gain, all in violation of Title 8, United States Code, Sections 1324(a)(1)(A)(iv),

1324(a)(1)(A)(v)(ID, and 1324(a)(1)(B)(i).

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COUNT FIVE
On or about March 2, 2015, in the Western District of Arkansas, PAUL PETERSEN, a
resident of Mesa, Arizona, aiding and abetting others known and unknown to the grand jury, did
encourage and induce an alien, namely, D.J., to come to, enter and reside in the United States,
knowing and in reckless disregard of the fact that such coming to, entry, and residence in the
United States was in violation of law, for the purpose of commercial advantage and private
financial gain, all in violation of Title 8, United States Code, Sections 1324(a)(1)(A)(iv),

1324(a)\(1)(A)(v)(ID, and 1324(a)(1)(B)(i).

A True Bill. DUANE (DAK) KEES
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/s/Grand Jury Foreperson
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